Case 4:07-cv-05944-JST Document 2031-12 Filed 10/29/13 Page 1of 3

EXHIBIT 8
(Filed Under Seal)
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Case 4:07-cv-05944-JST Document 2031-12 Filed 10/29/13 Page 2 of 3

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America Electronic Components, Inc.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

IN RE: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

il
This Document Relates to

Case No. 13-cv-02171-SC (N.D. Cal.)

DELL INC. AND DELL PRODUCTS L-P.,
Plaintiffs, EXHIBIT 8: EXCERPTS OF DVD OF
l to 2 &§ DEPOSITION OF YASUKI
¥. YAMAMOTO

HITACHI, LTD., et al.,

Defendants.

MANUAL FILING NOTIFICATION OF EXHIBIT 8 TO THE FRUTIG DECLARATION
Case No. 07-5944-SC
MDL No. 1917

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Case 4:07-cv-05944-JST Document 2031-12 Filed 10/29/13 Page 3 of 3

MANUAL FILING NOTIFICATION
Regarding: Exhibit 8 to the Declaration of Matthew N. Frutig in Support of the

Toshiba Defendants’ Response to Plaintiffs’ October 15, 2013 Letter Seeking Discovery
Order and to Strike Errata.
This filing is in physical form only, and is being filed under seal in the case file in the

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Other (please describe):

Respectfully submitted,

Dated: October 29, 2013 WHITE & CASE

ounsel to Defendants Toshiba
Corporation, Toshiba America, Inc.,
Toshiba America Information Systems,
Inc., Toshiba America Electronic
Components, Inc.

MANUAL FILING NOTIFICATION OF EXHIBIT 8 TO THE FRUTIG DECLARATION
Case No. 07-5944-SC
MDL No. 1917

